Case 2:10-cv-00014-DDP-JC Document 49-1 Filed 04/18/11 Page 1 of 14 Page ID #:683



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     7
     8                             UNITED STATES DISTRICT COURT
     9                             CENTRAL DISTRICT OF CALIFORNIA
   10
   11    GLEN E. FRIEDMAN,               )        Case No. CV10-0014 DDP (JCx)
                                         )
   12           Plaintiff,               )        DEFENDANT THIERRY GUETTA’S
                                         )        STATEMENT OF GENUINE ISSUES IN
   13    vs.                             )        OPPOSITION TO PLAINTIFF GLEN E.
                                         )        FRIEDMAN’S MOTION FOR SUMMARY
   14    THIERRY GUETTA a/k/a MR.        )        ADJUDICATION
         BRAINWASH, and DOES 1 through   )
   15    10, inclusive,                  )        [FILED CONCURRENTLY W ITH OPPOSITION
                                         )        TO MOTION TO SUMMARY ADJUDICATION;
   16           Defendants.              )        DECLARATIONS OF THIERRY GUETTA AND
                                         )        ALAN S. GUTMAN]
   17    AND RELATED COUNTER-CLAIM.      )
                                         )        Date: May 9, 2011
   18    _______________________________ )        Time: 10:00 a.m.
                                                  Ctrm: 3
   19
                                                  HON. DEAN D. PREGERSON
   20                                             UNITED STATES DISTRICT JUDGE
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         GUETTA\MSA STMT FACTS & LAW                              STATEMENT OF GENUINE ISSUES
Case 2:10-cv-00014-DDP-JC Document 49-1 Filed 04/18/11 Page 2 of 14 Page ID #:684



     1                                 STATEMENT OF GENUINE ISSUES
     2          Defendant Thierry Guetta (“Guetta”) submits this statement of genuine issues
     3   pursuant to Central District of California Local Rule 56-2 in opposition to the motion for
     4   summary adjudication herein filed by Plaintiff Glen E. Friedman (“Friedman”). Facts 1
     5   through 10 below correspond to the facts and supporting evidence presented in the
     6   Statement of Uncontroverted Facts filed by. Friedman. Where appropriate, the facts are
     7   followed by additional material facts showing a genuine issue. These are followed by
     8   Guetta’s additional material facts and supporting evidence showing a genuine issue.
     9    No.    Friedman’s Alleged Uncontroverted Fact           Response
   10            and Evidence
   11     1.     Glen E. Friedman created an original             Undisputed.
   12            photograph of the music group RUN-DMC
   13            (the (“Subject Image”).
   14            Dec Friedman ¶ 2.
   15     2.     Friedman was the sole author of the Subject      Disputed.

   16            Photograph, including selecting the subject      Friedman “quite possibly” told the

   17            matter, arrangement of the parties, angle of     member on the left (DMC) to cup

   18            the photograph, lighting, composition, framing   his fist and could only testify that

   19            and determination of the precise time of         he “most likely” put the group in

   20            talking the picture.                             their precise pose. The pose of

   21            Dec Friedman ¶ 2.                                the member on the right of the

   22                                                             Photograph (Run) is commonly

   23                                                             referred to as the “B-Boy Stance”

   24                                                             in hip-hop culture and Friedman

   25                                                             testified that he had seen Run

   26                                                             posed in the “B-Boy Stance”

   27                                                             previously. Deposition of Glen E.

   28

         GUETTA\MSA STMT FACTS & LAW                                       STATEMENT OF GENUINE ISSUES
                                                     2
Case 2:10-cv-00014-DDP-JC Document 49-1 Filed 04/18/11 Page 3 of 14 Page ID #:685



     1                                                           Friedman (“Friedman Depo.”)
     2                                                           (attached     as    Exhibit   A   to
     3                                                           Declaration of Alan S. Gutman
     4                                                           (see ¶ 2), 110:2-5, 111:2-5,
     5                                                           116:3-5.
     6    3.     The Subject Photograph was first published      Undisputed.
     7           in 1994 in the book F*** YOU Heroes,
     8           authored by Glen Friedman (ISBN-10:
     9           096491602.), which was the first public
   10            distribution of copies of the photograph.
   11            Dec Friedman ¶ 3.
   12     4.     Glen E. Friedman was the author of the book     Undisputed.

   13            F*** YOU HEROES as an original work of

   14            authorship.

   15            Dec Friedman ¶ 3.

   16     5.     In March of 2003 Glen E. Friedman applied       Undisputed.

   17            for registration of F*** YOU HEROES and my

   18            [sic] included photographs with the U.S.

   19            Copyright Office and was issed Copyright

   20            Registration    Certificates   TX   6-612-087

   21            effective March 24, 2003.

   22            Dec Friedman ¶ 3.
          6.     Thierry Guetta copied Glen E. Friedman’s        Disputed. Guetta did not “copy”
   23
                 Subject Photograph in creating the poster       the Subject Photograph and the
   24
                 designated as “Run-DMC Canvas” or “Banner       cited evidence does not indicate
   25
                 Work” Exhibit 7, Bates No. G-41.                that Guetta “copied” the Subject
   26
                 Exhibit 1, Deposition p. 88:17-19; Guetta       Photograph in creating the poster
   27
                 Declaration, ¶ 16, Docket No. 41.               designated         as   “Run-DMC
   28

         GUETTA\MSA STMT FACTS & LAW                                        STATEMENT OF GENUINE ISSUES
                                                      3
Case 2:10-cv-00014-DDP-JC Document 49-1 Filed 04/18/11 Page 4 of 14 Page ID #:686



     1                                                             Canvas”     or   “Banner     Work.”
     2                                                             Rather, Guetta indicated that
     3                                                             incorporated certain aspects of
     4                                                             the    Subject        Photograph.
     5                                                             Declaration of Thierry Guetta
     6                                                             (“Guetta Decl.”), ¶¶ 8, 9, 12, 14
     7                                                             16.
     8    7.     Thierry Guetta copied Glen E. Friedman’s          Disputed. Guetta did not “copy”
     9           Subject Photograph in creating the poster         the Subject Photograph and the
   10            designated as “Fluorescent Graffiti stencil” or   cited evidence does not indicate
   11            “Stencil Work”, Exhibit 13, Bates No. G-40.       that Guetta “copied” the Subject
   12            Guetta Declaration, ¶ 14, Docket No. 41.          Photograph in creating the poster
   13                                                              designated       as   “Fluorescent
   14                                                              Graffiti stencil” or “Stencil Work.”
   15                                                              Rather, Guetta indicated that
   16                                                              incorporated certain aspects of
   17                                                              the Subject Photograph. Guetta
   18                                                              Decl., ¶¶ 8, 9, 12, 14 16.
   19     8.     Thierry Guetta copied Glen E. Friedman’s          Disputed. Guetta did not “copy”

   20            Subject Photograph in creating the poster         the Subject Photograph and the

   21            designated as “Broken Records Work”.              cited evidence does not indicate

   22            Exhibit 5, Bates No. G-39, Exhibit 12.            that Guetta “copied” the Subject

   23            Guetta Declaration, ¶ 12, Docket No. 41.          Photograph in creating the poster

   24                                                              designated as “Broken Records

   25                                                              Work.” Rather, Guetta indicated

   26                                                              that incorporated certain aspects

   27                                                              of the Subject Photograph. See

   28

         GUETTA\MSA STMT FACTS & LAW                                         STATEMENT OF GENUINE ISSUES
                                                      4
Case 2:10-cv-00014-DDP-JC Document 49-1 Filed 04/18/11 Page 5 of 14 Page ID #:687



     1                                                             Guetta Decl., ¶¶ 8, 9, 12, 14 16.
     2    9.     Thierry Guetta copied Glen E. Friedman’s          Disputed. Guetta did not “copy”
     3           Subject Photograph in creating the poster         the Subject Photograph and the
     4           designated as “Run DMC Old Family” or “Old        cited evidence does not indicate
     5           Photo Work.” Exhibit 4, Bates No. G-37,           that Guetta “copied” the Subject
     6           Exhibit 17.                                       Photograph in creating the poster
     7           Deposition p. 65:7-13; Guetta Declaration ¶       designated as “Run-DMC Old
     8           9, Docket No. 41.                                 Family” or “Old Photo Work.”
     9                                                             Rather, Guetta indicated that
   10                                                              incorporated certain aspects of
   11                                                              the Subject Photograph. Guetta
   12                                                              Decl., ¶¶ 8, 9, 12, 14 16.
   13     10.    Glen E. Friedman did not authorize Thierry Undisputed.

   14            Guetta to make, sell or display any

   15            reproduction or use of his Run DMC

   16            photograph.

   17            Dec Friedman ¶ 5.

   18              GUETTA’S ADDITIONAL GENUINE ISSUES OF MATERIAL FACT
   19
          No.    Defendant’s Additional Material Fact                     Evidence
   20     1.     Guetta is a world renowned artist that sometimes         Declaration     of   Thierry
   21            goes by “Mr. Brainwash.”                                 Guetta (“Guetta Decl.”), ¶ 2.
   22     2.     Guetta’s first major art showing, which was called       Guetta Decl., ¶ 4.
   23            “Life is Beautiful,” was a massive art installation at
   24            a former CBS studio in Hollywood, California.
   25     3.     “Life is Beautiful” ran from June 18, 2008 until         Guetta Decl., ¶ 4.

   26            August 31, 2008.

   27     4.     The show included about 200 works Guetta                 Guetta Decl., ¶ 4, Exh. A.

   28            created, including paintings, sculptures, a 20 foot


         GUETTA\MSA STMT FACTS & LAW                                         STATEMENT OF GENUINE ISSUES
                                                       5
Case 2:10-cv-00014-DDP-JC Document 49-1 Filed 04/18/11 Page 6 of 14 Page ID #:688



     1           tall robot constructed out of televisions and metal,
     2           and various other works of differing sizes and
     3           mediums.
     4    5.     Guetta was not paid to put on the show, rather, he     Guetta Decl., ¶ 5.
     5           paid to rent the space, for demolition, security and
     6           so on.
     7    6.     At all times, admission to “Life is Beautiful” was     Guetta Decl., ¶ 5.

     8           free to the public and no concessions were sold.

     9    7.     Other than selling his art, Guetta did not offer any   Guetta Decl., ¶ 5.

   10            goods or services in connection with the “Life is

   11            Beautiful” show and could not profit in any other

   12            manner therefrom.
          8.     In addition to the other approximately 200 pieces      Guetta Decl., ¶ 6.
   13
                 were a few works Guetta created in part by using
   14
                 the unprotectable aspects of the Photograph of
   15
                 Run-DMC taken by Friedman of the hip-hop group
   16
                 Run-DMC.
   17
          9.     The Photograph consists of the three members of        Exhibit B to Guetta Decl.
   18
                 Run-DMC staring at the camera and posing with
   19
                 bravado: one of the group’s members is cupping
   20
                 his fist with his other hand and another member
   21
                 has his arms folded. Each member’s face has a
   22
                 serious look that may described as “tough.”
   23
          10.    Each member of Run-DMC is wearing a black              Exhs. B, K and L to Guetta
   24
                 Stetson hat, a style of dress the group was and is Decl.;      Friedman       Depo.,
   25
                 well known for.                                        100:22-101:8;        114:7-9;
   26
                                                                        161:3-10.
   27
          11.    The background of the Photograph is a brick Friedman Depo., 99:9-10.
   28

         GUETTA\MSA STMT FACTS & LAW                                       STATEMENT OF GENUINE ISSUES
                                                      6
Case 2:10-cv-00014-DDP-JC Document 49-1 Filed 04/18/11 Page 7 of 14 Page ID #:689



     1           building in Hollis, Queens.
     2    12.    What shall be referred to herein as the “Old Photo      Guetta Decl., ¶ 8, Exhs. C
     3           Work” was created out of a 19th century and D.
     4           photograph of a family of four people
     5    13.    Guetta purchased the 19th century photograph at         Guetta Decl., ¶ 9.

     6           a flea market in Paris.

     7    14.    After being scanned into a digital format, two of the   Guetta Decl., ¶ 9, Exhs. B,

     8           family members were removed and replaced with           C and D.

     9           the images of two of the members of Run-DMC

   10            from the digital image of the Photograph.
          15.    Any of the digital alterations herein referenced        Guetta Decl., ¶ 9.
   11
                 were performed by a graphic artist at Guetta’s
   12
                 direction.
   13
          16.    The 19th century photograph made up the majority Guetta Decl., ¶ 9, Exhs. C
   14
                 of the Old Photo Work and other than the removal        and D.
   15
                 of two of the family members, essentially no
   16
                 aspects from the older photograph were omitted.
   17
          17.    Guetta also caused one of the Stetson hats that         Guetta Decl., ¶ 9, Exhs. B,
   18
                 the members of Run-DMC were wearing to be               C and D.
   19
                 placed on one of the unknown persons in the Old
   20
                 Photo Work so as to make it appear that he was
   21
                 wearing the same style of hat.
   22
          18.    The images of the two Run-DMC members from              Guetta Decl., ¶ 9, Exhs. B
   23
                 the Photograph were digitally altered so as to make     and D.
   24
                 them more slender, smaller and to change their
   25
                 relative positions, thereby making their inclusion in
   26
                 the older photograph more spatially appropriate.
   27     19.    Additionally, while the images of Run-DMC were Guetta Decl., ¶ 9, Exhs. B,
   28

         GUETTA\MSA STMT FACTS & LAW                                        STATEMENT OF GENUINE ISSUES
                                                      7
Case 2:10-cv-00014-DDP-JC Document 49-1 Filed 04/18/11 Page 8 of 14 Page ID #:690



     1           crisp in the Photograph, the two members’ features     C and D.
     2           were made more dull in the Old Photo Work so as
     3           to create the sense that the Run-DMC members
     4           were present with the family when the 19th century
     5           photograph was taken.
     6    20.    The entire image in the Old Photo Work, including Guetta Decl., ¶ 9, Exhs. B
     7           the two members of Run-DMC, had a sepia tone,          and D.
     8           whereas the Photograph was a more standard
     9           black and white.
   10     21.    An image of an oval near the Old Photo Work’s          Guetta Decl., ¶ 9, Exhs. C

   11            perimeter gave the piece the appearance of an old      and D.

   12            photograph that had been in a frame with an oval

   13            window for some time and subsequently removed.

   14     22.    None of the background from the Photograph was         Guetta Decl., ¶ 9, Exhs. B,

   15            used in the Old Photo Work.                            C and D.
          23.    Guetta created prints of the Old Photo Work for        Guetta Decl., ¶ 10.
   16
                 sale, some of which were sold during the two and
   17
                 a half month run of the “Life is Beautiful” show and
   18
                 some of which were sold on Guetta’s website.
   19
          24.    Guetta has not offered the Old Photo Work prints       Guetta Decl., ¶ 10.
   20
                 for sale since well before the instant litigation
   21
                 began.
   22
          25.    Postcards incorporating the image were created,        Guetta Decl., ¶ 11.
   23
                 but were not used for promotion of the show and
   24
                 were instead given as a memento to people after
   25
                 they attended the show.
   26
          26.    46 other postcards bearing images of Guetta’s          Guetta Decl., ¶ 11, Exh. E.
   27
                 artwork that did not incorporate the Photograph
   28

         GUETTA\MSA STMT FACTS & LAW                                       STATEMENT OF GENUINE ISSUES
                                                      8
Case 2:10-cv-00014-DDP-JC Document 49-1 Filed 04/18/11 Page 9 of 14 Page ID #:691



     1           were also created and distributed in the same
     2           manner.
     3    27.    The second category of work incorporating the           Guetta Decl., ¶ 12, Exh. F.
     4           Photograph was a “one-off” (only one was created,
     5           no reproductions were made) depicting Run-DMC
     6           made from vinyl shards of broken records (the
     7           “Broken Records Work”).
     8    28.    To create the Broken Records Work, Guetta               Guetta Decl., ¶ 12, Exhs. B

     9           caused a digital image of the Photograph to be          and F.

   10            altered so as to remove most of the detail from its

   11            subjects, leaving an outline of the group’s features.

   12            Any shadings and/or subtleties created by

   13            Friedman’s artistic decisions as a photographer

   14            (such as lighting, shutter-speed, etc.) were entirely

   15            eliminated.

   16     29.    The background of the Photograph was discarded.         Guetta Decl., ¶ 12, Exhs. B

   17                                                                    and F.
          30.    Guetta then had the image projected onto a large        Guetta Decl., ¶ 12, Exh. F.
   18
                 piece of wood and painted the image onto the
   19
                 wood.
   20
          31.    Thereafter, Guetta glued more than 1,000 pieces         Guetta Decl., ¶ 12, Exh. F.
   21
                 of broken phonograph records onto the painted
   22
                 wood.
   23
          32.    The result was a three-dimensional image of Run-        Guetta Decl., ¶ 12, Exh. F.
   24
                 DMC created entirely from broken records.
   25
          33.    The use of broken vinyl gave the Broken Records         Guetta Decl., ¶ 12, Exh. F.
   26
                 Work a fragmented appearance.
   27     34.    The Broken Records Work further deviated from           Guetta Decl., ¶ 12, Exhs. B
   28

         GUETTA\MSA STMT FACTS & LAW                                        STATEMENT OF GENUINE ISSUES
                                                      9
Case 2:10-cv-00014-DDP-JC Document 49-1 Filed 04/18/11 Page 10 of 14 Page ID #:692



     1           the Photograph in that towards the bottom the          and F.
     2           image of Run-DMC appeared to be dripping.
     3    35.    The Broken Records Work was never offered for          Guetta Decl., ¶ 13.
     4           sale. Other than the “Life is Beautiful” show, the
     5           Broken Records Work was never displayed or in
     6           any manner marketed by Guetta.
     7    36.    The third category of works incorporating the          Guetta Decl., ¶ 14, Exhs. B

     8           Photograph involved the use of a stencil (the          and G through I.

     9           “Stencil Works”). As with the Broken Records

    10           Work, a digital image of the Photograph was

    11           altered so as to remove any shading and nuance.

    12    37.    Additionally, the image was altered so that it could   Guetta Decl., ¶ 14, Exhs. B

    13           be made into a one piece stencil, meaning Guetta       and G through I.

    14           had to make decisions as to whether and how

    15           certain features could be incorporated. In order to

    16           create a single stencil, the artist must ensure that

    17           ever aspect of the image is connected by a

    18           “bridge.” Accordingly, for portion’s of the image

    19           that were not near other portions (e.g. a band

    20           member’s eye), Guetta had to determine how to

    21           bridge that feature to others so as to ensure a one-

    22           piece stencil could be created.
          38.    Thereafter, the image was printed on high-quality, Guetta Decl., ¶ 14, Exhs. G
    23
                 rigid paper and Guetta cut the paper to create the     through I.
    24
                 stencil.
    25
          39.    As with the other works, the background of the         Guetta Decl., ¶ 14, Exhs. G
    26
                 Photograph was not incorporated in any manner.         through I.
    27
    28

         GUETTA\MSA STMT FACTS & LAW                                       STATEMENT OF GENUINE ISSUES
                                                     10
Case 2:10-cv-00014-DDP-JC Document 49-1 Filed 04/18/11 Page 11 of 14 Page ID #:693



     1    40.    Guetta placed the stencil on top of the three         Guetta Decl., ¶ 14, Exhs. G
     2           canvases with different backgrounds and used          through I.
     3           black spay paint to superimpose the image of Run-
     4           DMC.
     5    41.    Only the Stencil Work found at Exhibit G, the piece   Guetta Decl., ¶ 15.
     6           on the white background with graffiti, was ever
     7           displayed by Guetta, the other two works were left
     8           in storage and never displayed or marketed.
     9    42.    The Stencil Works were never offered for sale in      Guetta Decl., ¶ 15.

    10           any manner or otherwise used to promote Guetta

    11           or his work.

    12    43.    The fourth and final category of work incorporating   Guetta Decl., ¶ 16, Exh. J.

    13           the Photograph was a painted banner of the

    14           members of Run-DMC (the Banner Work), which

    15           was was also a one-off.
          44.    Again, an image incorporating the members of          Guetta Decl., ¶ 16, Exhs. B
    16
                 Run-DMC from the Photograph with the shading          and J.
    17
                 and other nuances removed was projected onto a
    18
                 canvas and then the image was hand-painted onto
    19
                 the canvas.
    20
          45.    The decisions Friedman made as a photographer,        Guetta Decl., ¶ 16, Exhs. B
    21
                 such as lighting and type of film, were not           and J.
    22
                 incorporated into the Banner Work, which used
    23
                 only one color (black) of acrylic paint.
    24
          46.    The image of Run-DMC is dripping in the same          Guetta Decl., ¶ 16, Exhs. F
    25
                 manner as the Broken Records Work.                    and J.
    26
          47.    The Banner Work was sold prior to the “Life is        Guetta Decl., ¶ 17.
    27
                 Beautiful” show, but was displayed at the “Life is
    28

         GUETTA\MSA STMT FACTS & LAW                                      STATEMENT OF GENUINE ISSUES
                                                      11
Case 2:10-cv-00014-DDP-JC Document 49-1 Filed 04/18/11 Page 12 of 14 Page ID #:694



     1           Beautiful” show and during a three-day music
     2           festival in Autumn 2008 in New York.
     3    48.    As    with   the      Old   Photo   Work,   postcards   Guetta Decl., ¶ 17.
     4           incorporating the image were created, but were not
     5           used for promotion of the show and were instead
     6           given as a keepsake to people after they attended
     7           the show.
     8    49.    Friedman testified that he took the Photograph          Friedman Depo., 103:23-

     9           around November 1985.                                   104:1.

    10    50.    Friedman stated that he chose the shoot’s location.     Friedman Depo., 99:9-16.

    11
          51.    Friedman testified that he did not provide Run-         Friedman Depo., 100:22-
    12
                 DMC with the hats worn in the Photograph and that       101:8.
    13
                 Run-DMC had been previously photographed with
    14
                 such hats.
    15
          52.      While Friedman testified that he may have             Friedman Depo., 113:17-
    16
                 participated in some of the wardrobe choices, he        22.
    17
                 conceded that the cold weather played a role in
    18
                 what Run-DMC was wearing.
    19
          53.    Friedman further testified that the group had often     Friedman Depo., 113:24-
    20
                 worn matching or similar outfits prior his taking the   114:9.
    21
                 Photograph.
    22
          54.    Friedman stated that he did not develop the             Friedman Depo., 141:17-
    23
                 Photograph.                                             19.
    24    55.    Friedman explained that since Run-DMC’s music           Friedman Depo., 118:21-
    25           inspired him, he wanted to express this inspiration     119:4.
    26           to others and inspire them as much as possible by
    27           means of the Photograph.
    28

         GUETTA\MSA STMT FACTS & LAW                                           STATEMENT OF GENUINE ISSUES
                                                       12
Case 2:10-cv-00014-DDP-JC Document 49-1 Filed 04/18/11 Page 13 of 14 Page ID #:695



     1    56.    Friedman testified that no one has told him that      Friedman Depo., 122:9-11.
     2           they would not license or purchase the Photograph
     3           because of Guetta’s use.
     4    57.    There are many photographs of Run-DMC from the        Guetta Decl., ¶ 17, Exhs. K
     5           1980's that are similar to Friedman’s Photograph,     and L.
     6           including the style of clothing, pose, demeanor and
     7           background.
     8    58.    Run-DMC’s eponymous debut album, which was            Guetta Decl., ¶ 17, Exh. K;

     9           released the year before the Photograph was           Gutman Decl., ¶ 3, Exhs. B

    10           taken, depicts two of the members of the group in     and C.

    11           black Stetson hats giving “tough” looks to the

    12           camera in essentially the same vein as they do in

    13           the Photograph.

    14    59.    Friedman does not own any of Run-DMC’s rights of      Friedman Depo., 136:18-

    15           publicity.                                            137:5.
          60.    Friedman was well aware that Guetta would argue       Joint Stipulation in Support
    16
                 fair use because Guetta specifically indicated as     of    Guetta’s    Motion    to
    17
                 much in his motion to compel further responses to     Compel Further Discovery
    18
                 discovery.                                            Responses (attached as
    19
                                                                       Exhibit A to Gutman Decl.,
    20
                                                                       see ¶ 4), 1:20-22 (“The
    21
                                                                       information sought by the
    22
                                                                       interrogatories          and
    23
                                                                       document requests is not
    24
                                                                       only relevant to damages, it
    25
                                                                       is relevant to determining
    26
                                                                       whether Guetta’s use of the
    27
                                                                       photograph        was      fair
    28

         GUETTA\MSA STMT FACTS & LAW                                        STATEMENT OF GENUINE ISSUES
                                                    13
Case 2:10-cv-00014-DDP-JC Document 49-1 Filed 04/18/11 Page 14 of 14 Page ID #:696



     1                                                                    pursuant to 17 U.S.C. §
     2                                                                    107(4).”).
     3    61.    The pose of the member on the right of the               Friedman Depo., 110:2-5.
     4           Photograph (Run) is commonly referred to as the
     5           “B-Boy Stance” in hip-hop culture and Friedman
     6           testified that he had seen Run posed in the “B-Boy
     7           Stance” previously.
     8    62.    Friedman “quite possibly” told the member on the         Friedman Depo., 111:2-5,

     9           left (DMC) to cup his fist and could only testify that   116:3-5.

    10           he “most likely” put the group in their precise pose

    11
    12   Dated: April 18, 2011                      LAW OFFICES OF ALAN S. GUTMAN
    13                                                     /s/ Alan S. Gutman
                                                    By: __________________________
    14                                                     Alan S. Gutman
                                                    Attorneys for Defendant and Counter-Claimant
    15                                              THIERRY GUETTA a/k/a MR. BRAINWASH
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         GUETTA\MSA STMT FACTS & LAW                                         STATEMENT OF GENUINE ISSUES
                                                      14
